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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

PSEG RENEWABLE TRANSMISSION
LLC,

       Plaintiff,                                  Case No. 25-cv-1235-ABA

       v.

ARENTZ FAMILY, LP, et al.,

       Defendants


                     MEMORANDUM OPINION AND ORDER

       On June 20, 2025, the Court granted Petitioner PSEG Renewable Transmission

LLC’s (“PSEG’s”) motion for a preliminary injunction. ECF No. 256 (preliminary

injunction); ECF No. 255 (order); ECF No. 254 (memorandum opinion). Respondents

have filed a motion to stay the preliminary injunction, ECF No. 258, which PSEG has

opposed, ECF No. 263.

       Courts have “inherent” authority to hold an order in abeyance pending appeal, a

grant of authority “preserved” by the All Writs Act, which authorizes federal courts to

“‘issue all writs necessary or appropriate in aid of their respective jurisdictions and

agreeable to the usages and principles of law.’” Nken v. Holder, 556 U.S. 418, 427, 433

(2009) (quoting 28 U.S.C. § 1651(a)). “A stay is not a matter of right”; a party requesting

a stay “bears the burden of showing that the circumstances justify” a stay, id. at 433–34,

based on a consideration of “(1) whether the stay applicant has made a strong showing

that he is likely to succeed on the merits; (2) whether the applicant will be irreparably

injured absent a stay; (3) whether issuance of the stay will substantially injure the other




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parties interested in the proceeding; and (4) where the public interest lies.” Id. at 426

(quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

       As an initial matter, the parties dispute whether the preliminary injunction

preserves or alters the “status quo.” This argument does not pertain directly to any of

the Nken factors, but rather to what standard applies to PSEG’s motion for a

preliminary injunction or Respondents’ motion to stay. Respondents describe the

preliminary injunction as “mandatory” as opposed to “prohibitory,” and argue the

preliminary injunction altered the status quo, which Respondents contend requires

PSEG to show “extraordinary circumstances” to avoid a stay. ECF No. 258-1 at 7–8

(quoting 2311 Racing LLC v. Nat’l Ass’n for Stock Car Auto Racing, LLC, 139 F.4th 404,

408 (4th Cir. 2025)); see also id. at 8 (Respondents arguing, “Prior to June 20, 2025,

PSEG could not enter Respondents properties. Now it can.”). PSEG argues that

granting a stay would alter the status quo, and that this Court’s preliminary injunction

qualifies as “prohibitory” because “the right of entry provided for in RP § 12-111 is self-

executing” and it was Respondents who, by refusing PSEG entry to conduct the studies,

were “interfer[ing] with the Company’s exercise of its statutory right.” ECF No. 263 at 9;

see also id. (PSEG: “Respondents refused to allow PSEG to exercise its statutory right,

but that refusal did not alter PSEG’s statutory right of entry.”).

       This Court already explained why PSEG has shown an entitlement to a

preliminary injunction even though the order confirming its right to access

Respondents’ property is “largely congruent with the final relief that PSEG seeks

through its complaint as final relief.” ECF No. 254 at 43. But also, this dispute over how

to characterize the “status quo” is largely beside the point with respect to the motion to

stay. Whether the injunction is properly characterized as mandatory or prohibitory, or

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preserving the status quo or altering it, the standard for a stay pending appeal is the one

articulated in Nken. And for largely the reasons already articulated in this Court’s

memorandum opinion granting PSEG’s motion for a preliminary injunction,

Respondents have not shown that the Nken factors justify a stay pending appeal.

       As for Respondents’ reliance on 2311 Racing LLC, the analogy Respondents seek

to draw is inapt. That was an antitrust case, where two NASCAR teams alleged that a

provision in a NASCAR charter agreement that required releasing claims arising from

past conduct violated Section 2 of the Sherman Act. 139 F.4th at 407. The teams sought

a preliminary injunction ordering a rewriting of the charter agreement to excise the

complained-of release provision, and permitting the teams to compete under that

judicially modified contract. Id. That clearly constituted a “mandatory” injunction that

“alter[ed], rather than preserve[d], the status quo.” Id. at 408 (quoting Taylor v.

Freeman, 34 F.3d 266, 270 n.2 (4th Cir. 1994)). The status quo would have been either

that the teams would (a) agree to the charter agreement and compete under its terms, or

(b) forego racing and preserve their right to sue NASCAR based on past conduct.

       Here, for the reasons the Court has explained, § 12-111 entitles PSEG, after giving

actual notice (which it indisputably has done), to temporarily enter properties along the

proposed Piedmont Project route to, among other things, “make surveys, run lines or

levels, or obtain information relating to the acquisition or future public use of the

property or for any governmental report, undertaking, or improvement.” Md. Code

Ann., Real Property § 12-111(a)(1). That legal entitlement is particularly clear given that

PSEG has been directed to conduct those studies by the state agency responsible for

assessing the “environmental, natural resources, and socioeconomic” impact of the

project. See ECF No. 254 at 7 (quoting COMAR 20.79.04.04(B)–(D)). The preliminary

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injunction this Court has granted simply confirms PSEG’s preexisting legal entitlement

to conduct the studies at issue; the status quo has been preserved, not altered. But even

if framed as a modification of the status quo such that it constitutes “[m]andatory

preliminary injunctive relief,” Taylor, 34 F.3d at 270 n.2, PSEG has satisfied that

standard, for the same reasons the Court has previously explained.

       Respondents’ remaining arguments for a stay fail to satisfy the Nken standard.

       With respect to their likelihood of success on appeal, although Respondents re-

argue their proposed interpretation of § 12-111, ECF No. 258-1 at 11–14, this Court has

already concluded that PSEG has shown the far more persuasive interpretation of the

statute, ECF No. 254 at 25–32, and that the evidence clearly establishes that PSEG gave

actual notice as required, id. at 12–22. Respondents contend that the Court “did not

address whether and when, under PU § 7-207, the State of Maryland delegates the

power of eminent domain to a transmission line developer.” ECF No. 258-1 at 12. Not

so. The Court explained the relationship and respective interpretations of Real Property

§ 12-111 and Public Utility § 7-207, including that the text and structure of § 7-207

confirm that § 12-111 does not require that an entity like PSEG have already been

granted the power to acquire land by condemnation before § 12-111 authorizes the types

of studies at issue here. ECF No. 254 at 6, 26–31. Respondents have not shown a

likelihood of success on the merits of their appeal.

       As for whether Respondents “will be irreparably injured absent a stay,” Nken, 556

U.S. at 426, Respondents do not attempt to make any such showing in their motion.

Insofar as they rely on the harms they previously articulated in opposing entry of a

preliminary injunction, the Court has already explained why the balance of harms

weighs in PSEG’s favor. ECF No. 254 at 49–50. As to “whether issuance of the stay will

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substantially injure” PSEG, see Nken, 556 U.S. at 426, for the same reasons PSEG has

shown it would suffer irreparable harm in the absence of a preliminary injunction, ECF

No. 254 at 45–49, it has shown that it will be substantially injured if the preliminary

injunction were stayed.

       Finally, the public interest factors weigh against a stay for the same reasons they

weigh in favor of issuance of the preliminary injunction. Id. at 50–51. Respondents

argue that, in considering the public interest, the Court should give limited weight to the

Power Plant Research Program’s conclusion that the studies at issue are necessary for it

to conduct its statutorily mandated review. See ECF No. 258-1 at 15 (arguing that the

PPRP “merely recommended that the PSC deem PSEG’s CPCN application incomplete

because, among various reasons, the application omitted [certain] field-based surveys”).

But that is a semantic distinction. The reason the PPRP declined to green-light the

project was because it determined that, until those studies are completed, it will be

unable to fully assess the environmental impact of locating the transmission line along

the currently proposed route.

       For these reasons, Respondents’ motion to stay pending appeal is denied.

Although Respondents have not shown a basis for a stay pending appeal, there are two

modifications to the preliminary injunction that they have requested and to which

PSEG, at least in part, does not object.

       First, Respondents request a monetary bond, and propose an amount of $1

million, which translates to roughly $11,000 per property. ECF No. 258-1 at 17. PSEG

argues that any bond should be limited to $1,000 per property, or $91,000. ECF No.

263 at 16–21. The Court will grant Respondents’ unobjected-to request to add a bond

requirement to the preliminary injunction. But Respondents have not shown that a

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bond remotely in the range they propose is justified. A property owner is entitled to

monetary damages if an engineer, surveyor or appraiser “damages or destroys any land

or personal property.” Md. Code Ann., Real Prop., § 12-111(c). Respondents have made

no showing that conducting the limited studies at issue poses any likelihood of damage

to the properties, let alone in an amount exceeding $1,000 per property. See Hoechst

Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 421 n.3 (4th Cir. 1999) (directing

courts, in selecting an amount for a bond, to consider “the potential incidental and

consequential costs as well as either the losses the unjustly enjoined or restrained party

will suffer during the period he is prohibited from engaging in certain activities or the

complainant’s unjust enrichment caused by his adversary being improperly enjoined or

restrained”) (quoting 11A Charles Alan Wright et al., Federal Practice & Procedure §

2954, at 292 (2d ed. 1995)). The bond will be set at $100,000.

       Second, Respondents request that the Court “clarify” that the Preliminary

Injunction is limited to permitting PSEG “access rights to conducting non-invasive

surveys on a temporary and limited basis.” ECF No. 258-1. Respondents are correct that

the scope of PSEG’s rights are limited to those authorized by § 12-111. The Court will

amend the preliminary injunction to clarify that the activities PSEG may conduct are

limited to those authorized by the statute.

                                CONCLUSION AND ORDER

       For the foregoing reasons, Respondents’ motion to Stay Preliminary Injunction

Pending Appeal, ECF No. 258, is GRANTED IN PART AND DENIED IN PART. The

request to stay pending appeal is DENIED. The request to modify the preliminary

injunction to require payment of a bond is granted (but for an amount smaller than



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Respondents request), and their request to clarify the preliminary injunction is granted.

A separate Amended Preliminary Injunction follows.



Date: July 11, 2025                                            /s/
                                                       __________________
                                                       Adam B. Abelson
                                                       United States District Judge




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